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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :       Case No. 21-CR-175 (TJK)
                                               :
ETHAN NORDEAN, et al.,                         :
                                               :
                       Defendants.             :

    GOVERNMENT’S NOTICE REGARDING DISCOVERY CORRESPONDENCE

       The United States of America, by and through undersigned counsel, respectfully submits

this notice of recent correspondence to defense counsel regarding discovery productions. Filed as

attachments to this notice are letters to counsel, identified in the following chart:

 Attachment            Date                          Recipients and Content
                                     Counsel for All Defendants (Sentinel Files via Relativity;
       1            5/12/2022        Tarrio Superior Court files via USAfx; Videos and
                                     additional materials via hard drive)
                                     Counsel for All Defendants (Sentinel Files via Relativity;
                                     FBI interviews, grand jury materials, facial recognition
       2            6/17/2022
                                     searches of images and video files, and other materials via
                                     USAfx; additional FBI evidence via hard drive)


       In addition to the above productions, the government has provided counsel with letters, not

attached here, memorializing the government’s global discovery productions, including Global

Production 15 (5/9/2022).

       The government has identified a limited number of materials that it intends to produce to

defense counsel for inspection at our office. The government submits that these materials require

additional measures in order to protect the government’s legitimate interest in preserving the

integrity of certain law enforcement techniques. The parties have been unable to reach agreement

with respect to additional protections for these materials. The government intends to seek an

addendum to the existing protective order early next week with respect to those materials, pursuant
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to Fed. R. Crim. P. 16(d)(1). Once this issue is resolved, the government is prepared to make these

additional materials available for inspection expeditiously.



                                      Respectfully submitted,

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